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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


 Andrew B. Austin,                                    Case No.: 23-cv-00869-JMB-JFD

       Plaintiff,
                                              JOINT STIPULATION AND MOTION
 v.                                               TO EXTEND COURT CASE
                                                        DEADLINES
 LexisNexis Risk Solutions Inc.,

       Defendant.


      Plaintiff Andrew B. Austin and Defendant LexisNexis Risk Solutions Inc, by and

through their respective undersigned counsel, jointly stipulate and request under Federal

Rule of Civil Procedure 16.02 that the Court amend its August 24, 2023, Amended Pretrial

Scheduling Order by extending all deadlines sixty days as provided below.

      Under Local Rule 16.3(b), a party moving to modify a scheduling order must

“establish good cause for the proposed modification; and (2) explain the proposed

modification’s effect on any deadlines.” D. Minn. LR 16.3(b)(1-2). Good cause exists to

modify this Amended Scheduling Order. Plaintiff and Defendant have been diligently

conducting discussions regarding the protective order and motion practice related thereto

which was disrupted due to travel schedules and the holidays. The parties finally have

worked out a permissible purpose order that meets the needs of the case and will be filing

that before January 11, 2024. No later than January 18, 2024, Defendant will produce the

documents related to Andrew T. Auston and no later than February 1, 2024, Plaintiff will

make a settlement demand. Defendant will then respond to Plaintiff’s demand by February
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8, 2024, and if the parties are unable to resolve the case on their own by February 15, 2024,

they will contact the Court and request a settlement conference (which was originally

scheduled for October 19, 2023, see Doc. No. 14). The parties will continue working

together regarding discovery and related discovery issues, various subpoenas to third

parties, in addition to the completion of party depositions.

       The Parties move to extend all the Court deadlines by sixty days.

       The current deadlines the parties seek to extend are as follows. See Doc. No. 17.

            a. Fact Discovery Completion Deadline: February 1, 2024, to April 1, 2024

            b. Non-Dispositive Motion Deadline to Serve and File: March 1, 2024, to May

               1, 2024.

            c. Dispositive Motion Deadline to Serve and File: April 15, 2024, to June 15,

               2024.

            d. Trial Ready Date: August 15, 2024 – remains as is subject to the Court’s

               preference.

       Should the Court wish for more details, the Parties are amenable to a conference to

discuss the matter further.

       For the reasons stated above, and in the interest of judicial economy, the parties

therefore respectfully ask the Court to:

       •       Extend the current case deadlines by sixty days save and except the Trial

               Ready Date as indicated above.




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                             CONSUMER JUSTICE CENTER, P.A.

Dated: January 21, 2024      By: s/ Thomas J. Lyons
                                 Thomas J. Lyons, Jr., Esq.
                                 Attorney I.D. #: 249646
                                 Carter B. Lyons, Esq.
                                 Attorney I.D. #: 403655
                                 CONSUMER JUSTICE CENTER, P.A.
                                 367 Commerce Court
                                 Vadnais Heights, MN 55127
                                 Telephone: (651) 770-9707
                                 Facsimile: (651) 704-0907
                                 tommy@consumerjusticecenter.com
                                 carter@consumerjusticecenter.com

                             PETERSON LEGAL PLLC

                                 Ryan D. Peterson, Esq.
                                 Attorney I.D. #: 0389607
                                 6600 France Avenue, Suite 602
                                 Edina, MN 55435
                                 Telephone: 612-367-6568
                                 ryan@peterson.legal

                             Counsel for Plaintiff

                             NILAN JOHNSON LEWIS PA

Dated: January 21, 2024      By: s/ Joseph G. Schmitt
                                 Joseph G. Schmitt (Reg. No. 0231447)
                                 250 Marquette Avenue South, Suite 800
                                 Minneapolis, MN 55401
                                 Tel.: 612.305.7500
                                 Fax: 612.305.7501
                                 Email: jschmitt@nilanjohnson.com

                             Counsel for Defendant




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